
In re Disciplinary Counsel; — Other; Applying for Motion for Interim Suspension.
ORDER
Considering the Motion for Interim Suspension filed by the Office of Disciplinary Counsel:
IT IS ORDERED, ADJUDGED AND DECREED that the respondent, Nina S. Broyles, attorney at law, be and she is hereby suspended from the practice of law pursuant to Rule XIX, § 19(C), pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Rule XIX, § 11 and § 19.
/s/ Jeannette Theriot Knoll Justice, Supreme Court of Louisiana
